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                       Exhibit 4
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                                                  Summary of Commission Decision
                                                          of 5 December 2012
              relating to a proceeding under Article 101 of the Treaty on the Functioning of the European Union
                                            and Article 53 of the EEA Agreement
                                      (Case COMP/39.437 — TV and computer monitor tubes)
                                                  (notified under document C(2012) 8839)
                                                    (Only the English text is authentic)

                                                         (Text with EEA relevance)

                                                             (2013/C 303/07)




              On 5 December 2012, the Commission adopted a decision relating to a proceeding under Article 101 of the Treaty on
              the Functioning of the European Union and Article 53 of the EEA Agreement. In accordance with the provisions of
              Article 30 of Council Regulation (EC) No 1/2003 (1), the Commission herewith publishes the names of the parties
              and the main content of the decision, including any penalties imposed, having regard to the legitimate interest of
              undertakings in the protection of their business secrets.



                              1. INTRODUCTION                                                         2.2. Procedure

 (1) On 5 December 2012, the European Commission adopted                   (5) Following the immunity application of Chunghwa under
     a decision relating to two separate infringements of                      the terms of the 2006 Leniency Notice, the Commission
     Article 101 of the Treaty on the Functioning of the                       carried out inspections in November 2007. Subsequently,
     European Union and Article 53 of the EEA Agreement                        the Commission received leniency applications from
     in the sector of cathode ray tubes (‘CRT’). By these                      Samsung SDI, Panasonic (together with MTPD), Philips
     infringements, the addressees of the decision colluded on                 and Technicolor. In addition, several requests for
     prices, market shares, customers and output as well as                    information were addressed to the parties.
     exchanged confidential information and monitored imple­
     mentation of the collusive arrangements.
                                                                           (6) On 23 November 2009, the Commission adopted a
 (2) The decision was addressed to the following legal entities:               statement of objections. An oral hearing was held on 26
     Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture                        and 27 May 2010. On 2 December 2010, the
     Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.                      Commission issued a letter of facts to Panasonic, MTPD
     (‘Chunghwa’); Samsung SDI Co., Ltd., Samsung SDI                          and Toshiba regarding the decisive influence of parent
     (Malaysia) Berhad, Samsung SDI Germany GmbH                               companies over MTPD.
     (‘Samsung SDI’); Koninklijke Philips Electronics NV
     (‘Philips’); LG Electronics, Inc (‘LGE’); Panasonic
     Corporation (‘Panasonic’); Toshiba Corporation (‘Toshiba’);
     MT Picture Display Co., Ltd. (‘MTPD’); Technicolor SA                 (7) On 1 June 2012, the Commission adopted supplementary
     (‘Technicolor’).                                                          statements of objections addressed to Philips and to LGE
                                                                               concerning liability. An oral hearing of these parties was
                                                                               held on 6 September 2012. On 5 July 2012 the
                         2. CASE DESCRIPTION                                   Commission issued a letter of facts to all the addressees
                                                                               of the 23 November 2009 statement of objections
                     2.1. The product concerned                                regarding participants in the cartel contacts from Philips
                                                                               group, LGE group and the Philips/LGE joint venture group.
 (3) The product concerned, CRT, is an evacuated glass
     envelope containing an electron gun and a fluorescent
     screen. There are two distinct types of CRTs that were
     covered respectively in the two separate infringements: (i)           (8) The Advisory Committee on restrictive practices and
     colour display tubes (CDTs) used in computer monitors                     dominant positions issued a favourable opinion on
     and (ii) colour picture tubes (CPTs) used for colour televi­              19 November 2012 and 3 December 2012.
     sions.


 (4) Since early 2000's, the CRT technology was gradually                                  2.3. Summary of the infringements
     replaced by alternative techniques such as LCD and
     plasma displays.                                                      (9) Overall, the CDT cartel lasted from October 1996 until
                                                                               March 2006 and the CPT cartel from December 1997
(1) OJ L 1, 4.1.2003, p. 1.                                                    until November 2006.
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(10) The addressees of the decision for the CDT cartel fixed            (14) The following undertakings infringed Article 101 of the
     prices, allocated market shares and customers and                       Treaty and Article 53 of the EEA Agreement by partici­
     restricted output. The addressees of the decision for the               pating, during the periods indicated, in a single and
     CPT cartel fixed prices, allocated market shares and                    continuous complex of agreements and concerted
     restricted output. The price fixing, market sharing and                 practices in the sector of colour picture tubes used for
     output restrictions were also subject to regular monitoring             colour televisions:
     in both cartels and, in the case of the CDT cartel, at times
     the capacity restrictions were also audited with plant visits.
     The addressees also engaged in exchanges of commercially                (a) Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture
     sensitive information in both cartels. In the CPT cartel, the               Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.,
     addressees also attempted to maintain a price gap between                   from 3 December 1997 until 6 December 2005;
     identical products marketed in Europe and Asia.
                                                                             (b) Samsung SDI Co., Ltd., Samsung SDI (Malaysia)
                                                                                 Berhad, Samsung SDI Germany GmbH, from
(11) The two cartels were highly organised. There were regular                   3 December 1997 until 15 November 2006;
     multilateral meetings involving different corporate levels of
     the addressees up to the executive level. The multilateral
     meetings were complemented by bilateral meetings and                    (c) Panasonic Corporation, from 15 July 1999 until
     other exchanges. Originally, CDTs and CPTs were                             12 June 2006;
     discussed in the same cartel contacts, but soon a
     division between CDT and CPT related cartel contacts
                                                                             (d) Toshiba Corporation, from 16 May 2000 until
     emerged. Focus of the cartel contacts evolved over time
                                                                                 12 June 2006;
     following the development in the sector for example as the
     emphasis in the demand was moving to larger dimension
     CRTs.                                                                   (e) MT Picture Display Co., Ltd., from 1 April 2003 until
                                                                                 12 June 2006;

(12) In the CDT cartel the cartel, contacts took place mainly in
     Asia whereas in the CPT cartel, there were cartel contacts              (f) Koninklijke Philips Electronics NV, from 21 September
     both in Asia and in Europe. As of 1999, the CPT cartel                      1999 until 30 January 2006;
     contacts started to be organised more frequently also in
     Europe to complement the cartel meetings that had started               (g) LG Electronics, Inc., from 3 December 1997 until
     in Asia. In the CPT cartel the arrangements reached in the                  30 January 2006;
     Asian and European cartel, contacts were interconnected.
     The European meetings focused more specifically on
     Europe and the Asian cartel contacts covered more                       (h) Technicolor SA, from           25      March   1999   until
     clearly the worldwide level. However, cartel contacts                       19 September 2005.
     concerning Europe clearly took place both in Asia and
     in Europe.
                                                                                                        2.5. Remedies

                                                                        (15) The decision applies the 2006 Guidelines on fines (1).
                           2.4. Addressees

(13) The following undertakings infringed Article 101 of the                 2.5.1. Basic amount of the fine
     Treaty and Article 53 of the EEA Agreement by partici­
     pating, during the periods indicated, in a single and              (16) The basic amount of the fine to be imposed on the under­
     continuous complex of agreements and concerted                          takings concerned is to be set by reference to the relevant
     practices in the sector of colour display tubes used in                 value of the undertakings' sales of goods or services to
     computer monitors:                                                      which the infringement related in the relevant geographic
                                                                             area in the EEA.

     (a) Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture
         Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.,          (17) For the purpose of establishing the value of sales in this
         from 24 October 1996 until 14 March 2006;                           case, the relevant EEA turnover consists of those sales
                                                                             where the first ‘real’ sale of CDT or CPT — as such or
                                                                             integrated in a final computer or colour television product
     (b) Samsung SDI Co., Ltd., Samsung SDI (Malaysia)                       — was made into the EEA during the period of the
         Berhad, from 23 November 1996 until 14 March                        infringement. This includes both direct EEA sales (that is
         2006;                                                               CDTs or CPTs directly sold to customers in the EEA) and
                                                                             direct EEA sales through transformed products (that is
                                                                             CDTs or CPTs incorporated intra-group into a final
     (c) Koninklijke Philips Electronics NV, from 28 January                 computer monitor or colour television and subsequently
         1997 until 30 January 2006;                                         sold to customers in the EEA) by one of the addressees of
                                                                             the decision or their joint venture. Sales of CDTs and CPTs
                                                                             to intra-group customers were part of the cartel
     (d) LG Electronics, Inc., from 24 October 1996 until
         30 January 2006.                                               (1) OJ C 210, 1.9.2006, p. 2.
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     discussions in this case and are therefore included in the                 (d) LG Electronics, Inc., for the period prior to the
     value of sales. For the calculation of the respective value of                 Philips/LGE joint venture — 4,66;
     sales, the value of the CDTs and CPTs are included in so
     far as the transformed products are sold by the cartelist in
                                                                                (e) Koninklijke Philips Electronics NV and LG Elec­
     the EEA to unrelated customers.
                                                                                    tronics, Inc, for the period of the Philips/LGE
                                                                                    joint venture — 4,5.
(18) In order to identify the relevant value of sales, the
     Commission takes into account sales of products which                   B. C P T c a r t e l
     were delivered in the EEA. By doing this, a strong nexus
     with the EEA is established, thereby reflecting the                        (a) Chunghwa Picture Tubes Co., Ltd., Chunghwa
     economic importance of the infringement in the EEA.                            Picture Tubes (Malaysia) Sdn. Bhd. and CPTF
                                                                                    Optronics Co., Ltd., jointly and severally — 8;

(19) In this case, it is appropriate to take the average annual                 (b) Samsung SDI Co., Ltd, Samsung SDI Germany
     value of sales (based on the actual sales over the entire                      GmbH, and Samsung SDI (Malaysia) Berhad,
     duration of the infringement) as the basis for the ‘value of                   jointly and severally — 8,91;
     sales’ calculation, having regard to the significant decrease
     of the sales for all undertakings between the beginning and
     the end of the infringement and to the considerable                        (c) Koninklijke Philips Electronics NV, for the period
     variation of the value of sales from one year to the next.                     prior to the Philips/LGE joint venture — 1,75;

                                                                                (d) LG Electronics, Inc., for the period prior to the
(20) Considering the nature of the infringements, their                             Philips/LGE joint venture — 3,5;
     geographical scope and their implementation, the
     percentage for the variable amount of the fine and the
                                                                                (e) Koninklijke Philips Electronics NV and LG Elec­
     additional amount (‘entry fee’) is set at 19 % of the value
                                                                                    tronics, Inc, for the period of the Philips/LGE
     of sales for the CDT cartel and 18 % of the value of sales
                                                                                    joint venture — 4,5;
     for the CPT cartel for all the undertakings addressed.

                                                                                (f) Technicolor SA — 6,41;
(21) LGE participated directly and through subsidiaries and
     Philips through subsidiaries in the CPT and CDT cartels                    (g) Panasonic Corporation, for the period prior to the
     until the end of June 2001, and thereafter both continued                      joint venture MTPD — 3,66;
     participation through the Philips/LGE joint venture.
     Panasonic participated directly and through subsidiaries
     and Toshiba directly in the CPT cartel until the end of                    (h) Toshiba Corporation, for the period prior to the
     March 2003, and thereafter both continued participation                        joint venture MTPD — 2,83;
     through the joint venture MTPD. Consequently, separate
     additional amounts are imposed only on the respective                      (i) Panasonic Corporation, Toshiba Corporation and
     joint venture parent companies, Philips, LGE, Panasonic                        MT Picture Display Co., Ltd, for the period of the
     and Toshiba.                                                                   joint venture MTPD — 3,16.


(22) In this case, the Commission takes into account the actual              2.5.2. Adjustments to the basic amount
     duration of participation in the infringements of the              (23) There are no aggravating or mitigating circumstances in
     undertakings involved in this case on a rounded down                    this case.
     monthly and pro rata basis to take fully into account the
     duration of the participation for each undertaking, which
     leads to the following multipliers for duration of partici­             2.5.3. Specific increase for deterrence
     pation:
                                                                        (24) In this case, a deterrence multiplier of the fines to be
                                                                             imposed of 1,1 is applied to Toshiba, and of 1,2 is
     A. C D T c a r t e l                                                    applied to Panasonic and MTPD.

        (a) Chunghwa Picture Tubes Co., Ltd., Chunghwa                       2.5.4. Application of the 10 % turnover limit
            Picture Tubes (Malaysia) Sdn. Bhd. and CPTF
            Optronics Co., Ltd., jointly and severally — 9,33;          (25) The final individual amounts of the fines are below 10 %
                                                                             of the worldwide turnovers of the addressed undertakings.

        (b) Samsung SDI Co., Ltd, and Samsung SDI (Malaysia)                 2.5.5. Application of the 2006 Leniency Notice
            Berhad, jointly and severally — 9,25;
                                                                        (26) Chunghwa was the first undertaking to submit information
                                                                             and evidence meeting the conditions of point 8(a) of the
        (c) Koninklijke Philips Electronics NV, for the period               2006 Leniency Notice. The fine to be imposed was
            prior to the Philips/LGE joint venture — 4,41;                   reduced by 100 % for both CDT and CPT cartels.
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(27) Samsung SDI is granted a 40 % reduction of the fines that             (d) LG Electronics, Inc.: EUR 116 536 000;
     would otherwise have been imposed on it both regarding
     the CDT and the CPT cartel.                                           (e) Koninklijke Philips Electronics NV and LG Electronics,
                                                                               Inc., jointly and severally liable: EUR 69 048 000.
(28) Philips is granted a 30 % reduction of the fines that would
     otherwise have been imposed on it both regarding the             (33) For the single and continuous infringement in relation to
     CDT and the CPT cartel.                                               the sector of colour picture tubes used for colour televi­
                                                                           sions, the following fines are imposed:
(29) Technicolor is granted a 10 % reduction of the fines that
     would otherwise have been imposed on it regarding the                 (a) Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture
     CPT cartel.                                                               Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.,
                                                                               jointly and severally liable: EUR 0;
(30) The Commission concluded that Panasonic and MTPD did
     not qualify for a reduction of fines.
                                                                           (b) Samsung SDI Co., Ltd., Samsung SDI (Malaysia)
                                                                               Berhad, Samsung SDI Germany GmbH, jointly and
     2.5.6. Inability to pay                                                   severally liable: EUR 81 424 000;
(31) One undertaking invoked its inability to pay under point
     35 of the 2006 Fines Guidelines. The Commission                       (c) Koninklijke Philips Electronics NV: EUR 240 171 000;
     considered this claim and carefully analysed the financial
     situation of the undertaking and the specific social and              (d) LG Electronics, Inc.: EUR 179 061 000;
     economic context. As a result of the analysis, the
     Commission granted a reduction of the fine.                           (e) Koninklijke Philips Electronics NV and LG Electronics,
                                                                               Inc., jointly and severally liable: EUR 322 892 000;
               3. FINES IMPOSED BY THE DECISION
                                                                           (f) Panasonic Corporation: EUR 157 478 000;
(32) For the single and continuous infringement in relation to
     the sector of colour display tubes used in computer
     monitors, the following fines are imposed:                            (g) Toshiba Corporation: EUR 28 048 000;

     (a) Chunghwa Picture Tubes Co., Ltd., Chunghwa Picture                (h) Panasonic Corporation, Toshiba Corporation and MT
         Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.,                 Picture Display Co., Ltd., jointly and severally liable:
         jointly and severally liable: EUR 0;                                  EUR 86 738 000;

     (b) Samsung SDI Co., Ltd., Samsung SDI (Malaysia)                     (i) Panasonic Corporation and MT Picture Display Co.,
         Berhad, jointly and severally liable: EUR 69 418 000;                 Ltd., jointly and severally liable: EUR 7 885 000;

     (c) Koninklijke Philips Electronics NV: EUR 73 185 000;               (j) Technicolor SA: EUR 38 631 000.
